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USDC-SDNY
DOCUMENT

UNITED STATES DISTRICT COURT ELECTRONICALLY FILED

SOUTHERN DISTRICT OF NEW YORE DOC#:
DATE FILED:

UNITED STATES OF AMERICA,
Vv. 19-CR-602 (RA)
. MICHAEL HILD, ORDER
Defendant.

 

 

RONNIE ABRAMS, United States District Judge:

In light of some of the allegations in Defendant’s pending motion for judgment of acquittal or,
in the alternative, a new trial, the Court advises the parties of the following:

After the completion of trial in this matter, Defendant’s counsel Katy Lawrence sent the attached
email to my courtroom deputy on Friday, May 7, 2021,! to which she responded on May 10. On May
11, the Court was advised that Mr. Hild hired new counsel. Although the Court had previously intended |

to mention this gesture at the next proceeding, in an exercise of caution, it does so now.

SO ORDERED.
Dated: July 31, 2021
New York, New York /

 

RONNIE ABRAMS
United States District Judge

 

' “Paul” and “Joe” referenced in the email are court security officers.

 
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ee
From: ma

Sent: Tuesday, July 27, 2024 3:56 PM
To: ene

Subject: FW: Checking in ~ Katy

From: nn
Sent: Monday, May 10, 2021 9:26 AM
To: Katy Lawrence <_-

Subject: RE: Checking in - Katy
Hi Katy!
Happy (belated) Mother's Day! Hope you had a great day celebrating with the kids!

Thank you so much for your kind words and for the sweet gesture. | can speak on behalf of myself and Judge Abrams
when | say the feeling is mutual. It was such a pleasure for us to see you all in action, we were constantly impressed and
we wish you all could appear in court here more often. It was sincerely a pleasure working with and getting to know all
of you.

While we're grateful for the gesture, we are not permitted to accept anything of value - even KFC! Nonetheless, thank
you so much. it is greatly appreciated.

| hope you are ail doing welll

Best Regards,

From: Katy Lawrence a.

Sent: Friday, May 07, 2021 4:00 PM

To: a

Subject: Checking in - Katy

CAUTION - EXTERNAL:

Hi JM! 't hasn’t been a full week since we have been back in Kentucky, but it feels like way longer of not seeing you
all every day. The experience of having the opportunity to practice in your forum amongst such generous, talented
people is still setting in | think. If it’s not too Informal, can | say that we miss seeing everyone? | hope you all are doing
well!

On behalf of our office, we wanted to send something to show our appreciation to the Court and staff. Joe and Paul
joked about getting KFC for lunch one day, so maybe we can cater in KFC for everyone? With covid restrictions, | wasn't
sure if a mailed package of some Kentucky/Cincinnati specific items would be acceptable like Skyline chili or Graeter’s ice
cream {can be mailed with dry ice}.

if food is not the best idea with any restrictions in place, | have a couple other ideas of non edible items :} just wanted to
get your thoughts on what you think is best.
i

 
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Have a great Friday and weekend!
Katy Lawrence
Attorney at Law

CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.

 
